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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


CHRISTOPHER PETERS                                                           CIVIL ACTION

versus                                                                       NO. 12-663

STEVE RADER                                                                   SECTION: "H" (1)



                                             ORDER

         The Court, having considered the petition, the record, the applicable law and the Report and

Recommendation of the United States Magistrate Judge, and the failure of petitioner to file any

objection to the Magistrate Judge’s Report and Recommendation, hereby approves the Report and

Recommendation of the United States Magistrate Judge and adopts it as its own opinion.

Accordingly,

         IT IS ORDERED that the federal petition of Christopher Peters for habeas corpus relief

is DISMISSED WITH PREJUDICE.

         New Orleans, Louisiana, this 1st day of June, 2012.




                                                      UNITED STATES DISTRICT JUDGE
